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                               IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE SOUTHERN DISTRICT OF TEXAS

                                            HOUSTON DIVISION

IN RE:                                            §

                                                  §

Michael Veach and                                 §        CASE NO. 19-31275

Carla Veach                                       §        Chapter 7

                                                  §

         DEBTORS                                  §



  CHAPTER 7 TRUSTEE’S MOTION FOR RECONSIDERATION OF ORDER DENYING APPLICATION TO
EMPLOY BK GLOBAL REAL ESTATE SERVICES PURSUANT TO 11 U.S.C. §§ 327 AND 328 (a) TO LIST REAL
                                  PROPERTY FOR SALE


THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU OPPOSE THIS MOTION, YOU SHOULD
IMMEDIATELY CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY
CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY OF THE MOVING PARTY. YOU MUST FILE AND
SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE
WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE
GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN
AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT MAY
CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

         A HEARING IS SCHEDULED ON THIS MATTER FOR THE 14TH DAY OF AUGUST, 2019 AT 11:00 AM
         IN COURTROOM 403, 515 RUSK, HOUSTON, TX 77002.



         REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.



         Randy W. Williams, chapter 7 Trustee of the above captioned estate (the “Trustee”) files this

Motion to Reconsider Order Denying Application to Employ BK Global Real Estate Services Pursuant to 11

U.S.C. § 327 to List Real Property for Sale (the “Application”) and states as follows:
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                                           RELIEF REQUESTED


        1.      On July 24, 019, the Court entered its Order Denying Application to Employ (ECF No. 41)

(the “Order”) for failure to serve the application on all required parties pursuant to Bankruptcy Local Rule

9013-1. The Trustee believes the application was correctly served and respectfully requests that the Order

be reconsidered.


                      BRIEF STATEMENT OF FACTS, ARGUMENT AND AUTHORITIES


        2.       Randy Williams, is the duly qualified and acting chapter 7 Trustee of the bankruptcy

estate of Michael Veach and Carla Veach. The Trustee filed his Application to Employ BK Group as Realtor

at Docket No. 40 on June 27, 2019 (the “Application”). The Application was served on the U.S. Trustee,

the Debtor and Debtor’s counsel.


        3.      As stated above, on July 24, 2019, this Court entered its Order Denying Application to

Employ because, “[T]he movant has failed to serve the instant application on all required parties pursuant

to Bankruptcy Local rule 9013-1.”


        4.      Local Bankruptcy 9013-1 (e) states:


                (e)     The notice language, hearing settings, and service requirements for the
                        following matters are governed by the rules noted, instead of BLR 9013-
                        1(a-d):
                        Claim Objections, Rule 3007
                        Motions for Relief from Stay, Rule 4001
                        Employment Applications, Rule 2014 and Rule
                        9003
                        Pro Hac Vice Applications, Rule 9003 (emphasis added)



        5.      Bankruptcy Rule 2014 (a) provides in part that an application to employ a professional

personal “…shall be transmitted by the applicant to the United States trustee.” No other notice is required

pursuant to Bankruptcy Rule 2014.
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        6.      Bankruptcy Rule 9003 prohibits ex parte contacts and does not specifically address or

require notice. In this instance, the Application was filed of public record and as stated above served as

required by Bankruptcy Rule 2014 (a) on the U.S. Trustee as well as the Debtor and Debtor’s attorney.


        7.      Based on the foregoing, the Trustee believes that he complied with Local Bankruptcy Rule

9013-1 (e) by serving the U.S. Trustee, as stated in the Certificate of Service attached to the Application

(ECF No. 40), since Local Bankruptcy Rule 9013-1 (e) specifically states that as to Employment Applications,

Bankruptcy Rules 2014 and 9003, instead of Local Bankruptcy Rule 9013-1 (a-d) govern service.


        8.      Pursuant to Bankruptcy Rule 9023, the Trustee respectfully requests that this Court

reconsider its Order and either grant the Trustee a new trial or alter and/or amend the judgment to

provide the relief originally requested.


        WHEREFORE, based upon the foregoing, the Chapter 7 trustee respectfully requests that the

Court reconsider its order of July 24, 2019 and authorize the Trustee to retain BK Global in this case and

requests that the Court approve the retention of BK Global on the terms, including but not limited to the

compensation arrangement, set forth in the Application, pursuant to Sections 327, 328(a) and 330 of the

Bankruptcy Code; and for such other and further relief as the Court determines is appropriate.


Dated: July 26, 2019


                                                          Respectfully submitted,




                                                          /s/ Randy W. Williams
                                                          Randy W. Williams, Trustee
                                                          7924 Broadway, Ste 104
                                                          Pearland, TX 77581
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                                                          CHAPTER 7 TRUSTEE
